          Case 14-01244-dd           Doc 47 Filed 10/01/18 Entered 10/01/18 13:13:56                       Desc
                                                  Page 1 of 2
                                    UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF SOUTH CAROLINA

IN RE:                                                               Case No: 14-01244-dd
ROGER JOE EALEY
RHONDA LASHANN EALEY                                                 CHAPTER 13
5888 SHIRLEY RD
FORT LAWN, SC 29714                                                  TRUSTEE'S NOTICE TO DEBTOR OF PLAN
                                                                     COMPLETION AND NOTIFICATION OF NEED
                                                                     TO FILE REQUEST FOR DISCHARGE

TO: DEBTOR AND ATTORNEY FOR THE DEBTOR

Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have any attorney, you may wish to consult one.)

The Chapter 13 Trustee has filed a Report of Completion of Plan Payments with the Court indicating that payments due
to the Trustee under the plan in the above case have been completed.

YOU ARE HEREBY NOTIFIED that, pursuant to Local Rule 3015-5, IF YOU BELIEVE YOU ARE ENTITLED TO A
DISCHARGE, you must prepare, sign and file, within twenty-eight (28) days of the date of this notice, a Certification of
Plan Completion and Request for Discharge and Notice (copies of which are attached) as they are required before a
discharge can be entered. Your failure to file the required documents timely could result in the closing of the case without
a discharge.

The Certification indicates that you understand and agree to the following :

1) You agree that there has been no Court order which would deny you the right to a discharge.

2) All payments due under the plan have been completed, including all payments required under 11 U.S.C. §
1322(b)(5).

If you are not certain, please consult an attorney for advice.

3) All amounts payable for domestic support obligations due on or before the date of your certification (including
any amounts due before the filing of the bankruptcy petition to the extent provided for by the plan ) have been
paid. Your certification must state the current name and address of each domestic support obligation payee .

The term "domestic support obligation" means a debt "in the manner of alimony, maintenance, or support (including
assistance provided by a government unit) of such spouse, former spouse, or child of the debtor or such child's parent,
without regard to whether such debt is expressly designated" that accrues before, on or after the date of the order for
relief in a case under Title 11, including interest that accrues on that debt as provided under applicable nonbankruptcy
law notwithstanding any other provision of Title 11, that is owed to or recoverable by (1) a spouse, former spouse, or
child of the debtor or such child's parent, legal guardian, or responsible relative; or (ii) a governmental unit. 11 U.S.C.
Section 101(14A)

4) The provisions of 11 U.S.C. Section 522(q)(1) are not applicable to your case and there are no proceedings
pending against you of the kind described in 11 U.S.C. Section 522(q)(1)(A) or 522(q)(1)(B).

11 U.S.C. Section 522(q) applies:
if "...the debtor has been convicted of a felony (as defined in section 3156 of title 18), which under the circumstances,
demonstrates that the filing of the case was an abuse of the provisions of this title (Title 11);"
11U.S.C. Section 522(q) also applies:
          Case 14-01244-dd           Doc 47      Filed 10/01/18 Entered 10/01/18 13:13:56                  Desc
                                                       Page 2 of 2
if "the debtor owes a debt arising from --(i) any violation of the Federal securites laws (as defined in section 3(a)(47) of
the Securities Exchange Act of 1934, any State securities laws, or any regulation or order issued under Federal securities
laws or State securities laws; (ii) fraud, deceit, or manipulation in a fiduciary capacity or in connection with the purchase
or sale of any security registered under section 12 or 15(d) of the Securities Exchange Act of 1934 or under section 6 of
the Securities Act of 1933; (iii) any civil remedy under section 1964 of title 18; or (iv) any criminal act, intentional tort,
or willful or reckless misconduct that caused serious physical injury or death to another individual in the preceding 5
years.

5) You have completed an instructional course concerning personal financial management as described in 11
U.S.C. Section 111.

The debtor is not entitled to a discharge unless after filing a petition the debtor completes an instructional course
concerning personal financial management. 11 U.S.C. Section 1328(g)(1). This is in addition to the budget and credit
counseling session you undertook befor the bankruptcy case was filed .

Your signature on the certification is under penalty of perjury.
CC: F LEE OSTEEN
     PO BOX 36534
     ROCK HILL, SC 29732-0509
